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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION


RED ROCK ANALYTICS, LLC,
                                              Civil Action No. 6:21-cv-00346-ADA
                      Plaintiff,
                                              JURY TRIAL DEMANDED
     v.

APPLE INC., QUALCOMM INC.,

                      Defendants.


             PLAINTIFF’S REPLY IN SUPPORT OF ITS MOTION
          TO DE-DESIGNATE REDACTED EXPERT DECLARATIONS
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       Defendants’ Response misses the point. This dispute is not about the Court’s Standing

Order, it is about whether the redacted declarations of Red Rock’s experts (Exs. 1, 2, 3) contain

any confidential information. They do not—they contain only public information. Defendants

therefore have no basis to request they be kept under seal, because public information cannot be

sealed. June Med. Servs., L.L.C. v. Phillips, No. 21-30001, 2022 U.S. App. LEXIS 549, at *14 (5th

Cir. Jan. 7, 2022) (“Publicly available information cannot be sealed. In so holding, we align with

the Supreme Court and our sister circuits.”) (emphasis added).

       Defendants claim it would be a “significant burden” for them to review the three redacted

declarations. Response (Dkt. 122) at 4. This is a silly argument. Red Rock has already gone through

the declarations and redacted any confidential information. All Defendants have to do is read the

declarations and tell Red Rock if they think anything else needs to be redacted. Attorneys regularly

read declarations as part of their job; it is not a burdensome task. Moreover, burden is not a factor

considered when determining whether to keep documents sealed:

       To decide whether something should be sealed, the court must undertake a
       “document-by-document,” “line-by-line” balancing of “the public’s common law
       right of access against the interests favoring nondisclosure.” … the working
       presumption is that judicial records should not be sealed. Courts should be
       ungenerous with their discretion to seal judicial records.

June Med., 2022 U.S. App. LEXIS 549, at *15-16 (citations omitted).

       Defendants’ Response for the first time identifies certain paragraphs they allege “are rife

with confidential information,” but they decline to point to any specific examples of confidential

information within these paragraphs. First, Defendants say the declarations “characteriz[e] roles

and responsibilities within Qualcomm,” citing Ex. 1 ¶¶ 56–82 and Ex. 2 ¶¶ 49–136. These

paragraphs cite only public information (e.g. linkedin profiles, patents, publications). Any citations

to confidential information and any opinions relating to such confidential information have been




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redacted. Second, Defendants say Ex. 2 ¶¶ 42-43 “purport[s] to characterize confidential details

about the business relationship between Qualcomm and Samsung.” Here again, these paragraphs

cite no confidential information; they reflect Mr. Murias’ knowledge and expertise. Third,

Defendants argue that various paragraphs include “discussions of an expert report in another case

involving several companies that are not parties to this case,” citing Ex. 1 ¶ 102; Ex. 2 ¶¶ 9, 14-

18; Ex. 3 ¶ 8. These paragraphs do not cite or reflect confidential information. Instead, they cite a

prior public Daubert order issued by Judge Payne in EDTX, which is available to all and was

never sealed. See, e.g., Ex. 2 ¶ 14 (“An order from the Samsung case describes the way in which

the value of the invention can be analyzed and discusses the various metrics and evidence that bear

on that value.”). References to prior reports are made in the context of that public Daubert order.

       The degree to which Defendants have refused to productively engage in this process is

telling. Their Response still declines to identify even a single word, phrase, or sentence they

contend should be redacted. This strange behavior is explained by the fact that Defendants’ goal

is not to protect confidential information, it is to prevent the release of public information they

would prefer to keep under wraps. Defendants know that if they made a reasonable redaction

request, Red Rock would willingly comply with that request. Indeed, Red Rock “remains willing

to consider any additional reasonable redactions Defendants propose” as stated in the opening

brief. Defendants have not taken Red Rock up on this offer. Red Rock therefore respectfully asks

the Court to find that the redacted declarations are not confidential.




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Dated: May 9, 2022

Respectfully submitted:

     /s/ Alden G. Harris
     Leslie V. Payne (Texas Bar No. 00784736)
     lpayne@hpcllp.com
     Michael F. Heim (Texas Bar No. 09380923)
     mheim@hpcllp.com
     Alden G. Harris (Texas Bar No. 24083138)
     aharris@hpcllp.com
     HEIM, PAYNE & CHORUSH, L.L.P.
     1111 Bagby, Suite 2100
     Houston, Texas 77002
     Telephone: (713) 221-2000
     Facsimile: (713) 221-2021

     T. John Ward, Jr. (Texas Bar No. 00794818)
     jw@wsfirm.com
     Claire Abernathy Henry (Texas Bar No. 24053063)
     claire@wsfirm.com
     WARD, SMITH & HILL, PLLC
     1507 Bill Owens Parkway
     Longview, Texas 75604
     Telephone (903) 757-6400
     Facsimile (903) 757-2323

     S. Calvin Capshaw (Texas Bar No. 03783900)
     ccapshaw@capshawlaw.com
     Elizabeth L. DeRieux (TX Bar No. 05770585)
     ederieux@capshawlaw.com
     CAPSHAW DERIEUX LLP
     114 E. Commerce Ave.
     Gladewater, TX 75647
     Telephone: (903) 845-5770




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                               CERTIFICATE OF SERVICE

   The undersigned hereby certifies that all counsel of record are being served with a copy of the

foregoing document via the Court’s CM/ECF system on May 9, 2022.

                                                           /s/ Alden G. Harris
                                                           Alden G. Harris




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